 Case 2:90-cv-00520-KJM-SCR                Document 8263         Filed 06/07/24       Page 1 of 1
                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

                                   OFFICE OF THE CLERK
                                        501 "I" Street
                                    Sacramento, CA 95814


RALPH COLEMAN, ET AL.,
        Plaintiff

   v.                                                    CASE NO. 2:90−CV−00520−KJM−DB

J. CLARK KELSO, ET AL.,
         Defendant




        You are hereby notified that a Notice of Appeal was filed on June 06, 2024
   in the above entitled case. Enclosed is a copy of the Notice of Appeal, pursuant
   to FRAP 3(d).



 June 7, 2024

                                       KEITH HOLLAND
                                       CLERK OF COURT

                                   by: /s/ K. Spichka
                                       Deputy Clerk
